 

Case 5:03-cr-00243-NA|\/| Document 1089 Filed 11/19/18 Paqe 1 of 7
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uNITED STATES DISTRICT coURT NUVISZMB
NORTHERN DISTRICT or NEw YORK

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KARO BROWN »

PETITIONER, .
v. : 5:18-cv»317 (NAM)
UNITED STATES OF AMERICA, : 5:03“€'.1‘*243-4 (NAM)
RESPONDENT. °

CONSOLIDATED REQUEST FOR, AND BRIEF`HWSUPPORT`OF:
LEAVE TO FILE REPLY BRIEF TO GOVERNMENT'B RESPONSE
TO PETITIONER'S PENDING RECONSIDERATION HOTION

AND NOW COMES Karo Brown, pro §§, (Petitioner); and hereby
respectfully submits his Reqmest, with Brief in Support, of the
Court's Leave to File a Reply Brief to the Governmenths Response
of his timely filed Motion for Reconsideration.

Succinclty, Petitioner Brown is properly and fully chasitsed
with respect to his belief that he was entitled to a leave to
reply, though he was told that it was not mandatony but elective.
In fact, as Petitioner noted in his Reconsideration Motion, he
now has other writ writers adsisiting him and that person was
of the belief that the leave to file reply briefs was, in fact,
"ubiquitUousj" throughout the federal realm of pleading. §§E
generallzz Middle sistrict of Pennsylvania Local Rules, Rule
7.7 ("...may be filed by moving party, within fourteen (14) days
...."); Conneti¢ut Local Rule, rule ?(d) Reply Memorandum. ".

not required and absence does nobtprejudice moving party...

fourteen (lé) days...."); Nbrthern District of Ohio, Rule 7.1(6)

 

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Reply Memorandum (same).

This premise is even enshrined in the Federal Rules of Appellate
Procedure, Rule 28.1(c) Appellee's Reply Brief. So the unskilled
litigant(s) in prison cannot be faulted for proceeding under
the (mis)conception that he would be defaulted a leave to file
his reply brief. As such, now that Petitioner is aware of the
fact that he was not entitled to a reply brief in the 2255, or
in this set of ancillary proceedings, he nonetheless wishes to
seek leave for one now and also reiterate that he should have
been given an opportunity for one in the 2255 briefing schedule.
Which will be shown in furhter detail why that was so in the

forthcoming Reply to this Reconsideration.
§§§l§§l§llg§

Petitioner respectfully references, as if set forth fully
herein, Local Rules of the Northern District of New_York¢ Rwle" ‘ "__
7.l(b)(2) Non-Dispostive Motions: Therein this Court's Local
Rule clearly states that motions other than dispositive motions,
covered in L.R. ?.l(b)(l), are not permitted a reply brief unless

granted leave by the Court.

Second, in this District, when a party fiels a dis ositive
motoin (such as a motion for preliminary injunctiong,

that party is not entitled to a surreply. N.D.N.Y.,
L.R. ?.l(bj(l). Furthermore, whan a party files a non-
dispositive motion (such as a motion for-reconsideration),
that party is not entitledd to file a reply,nwithout
prior leave of the Court. N.B.N.Y. L.R.7.1(b)(2)....

Planck v. Schenectady County, 2012 U.S. Dist. LEXIS ?62&1 (06/01/12).
See also: Bruno v. City of Schenectady, et. al., 2016 U.S. Dist.

LEXIS 32197 (03/14/16) (must seek leave of court for reply brief).
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STATEMENT OF CASE AND FACTS

Petitimner filed his 2255 motion and exhibits with the District
Court and same ordered the United_States to file an Answer.

The Unibed States was Granted an extension of time to file
its Response, and timely filed same.

The Court reviewed the submissions and ultimately denied
the 2255 motion.

In the interim, Petitioner had misunderstood that he would
have an opportunity td file a reply brief to clarify and traverse
the Government's position(s). But hencontinued to research and
study his case and gained additional materials that he submitted
in the present pleading.

Had Betitioner known, he would have filed a Request for
Leave to file a Reply Brief and additional time to secure the
materials that he submitted with that Motion.

The United States has now thrown the proverbial "wrench"
in the engine by not only Responding to Petitionerks Reconsideration,
but has miraculously retrieved a number of materials -- which
incidentially must be taken on faith as they are under seal,
though Petitbdner deems that a simple redaction of the sensitive
portions would have sufficied -- that npurport to memoralize
the proceedings that are not memowlaized in the docket entries
of the underlying criminal proceddings.

At this late stage, there are a number of materials that
were not before the Court at the time of the 2255 proceedings,

and are subject to any number of legal arguments and/or rebuttals.

Petitidner Discusses them in the next section.
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DISCUSSION

The purpose of pleading is to facilitate a proper decision
on the merits....

Foman v. Davis, 371 U.S. 178, 182 (1962) fciting andlquoting
Conley v. Gibson, 355 U.S. 41, 48 (1957).

In sum, the Court has long held that a full and complete
briefing process/schedule goes far to ensure the due process
and a fair hearing of claims. Moreover, the Court has repeatedly
remanded cases because they do not have sufficient briefing on
underlying issues that are/were needed to resolve issue(s) presented
to:them. In fact, the Court many times will resolve the issue¢s)
presented to it, only to ascertain that the ultimate question
must be remanded in order for the courts below to delve into
the case file and ascertain whether there are facts to actaully
resolve the case. (Citations ommitted for brevity.).

But of import to this case, is the fact the Government has
now broadened the evidence that is available to the Court and
when new evidence is entered, it is appnopriate to hear argument
on the relevance and/or meaning of it to the case at bar. Especially
as now it is quite obvious that the materials go to the heart
of the matter of the Grand Jury proceedings in the underlying
criminal case.

With respect to this, the Government now asserts that the
case file includes materials that rebut the claims made by Petitioner
in his 2255 motion. It would appear that the Government is Expanding
the Record, as per Rules Governeing Section 2255 Proceedings
in the United States District Court, Rule 7.

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Turning to those rules, which would control the pleading
process in a 2255 setting, there is absolutely a mandate for
an opportunity to file a Reply:
(c) Revlew by the opposing party. The judge must give

the party against whom the additional materials are
offered an opportunity to admit or deny their correctness.

lbid; at (c).

Of further noteworthiness¢ is that those rules specifically
do actually grant leave for a reply to the Anewer as filed by
the Government in the underlying 2235 motion.

(d) RepLy. The moving party may submit a reply to the
respondent's answer or other pleading within a time
fixed by the judge.

Rules-2255, Rule 5 Answer.

Petitidner deems that while this Court's local Rules may
curtail the proceedings in the handling of the court¥s docket,
the fact that the Rules-2255 give certain leaves cannot be truncated
by local rules. Especially as now where the Record is being
Expanded on/in a Response Brief that the Government claims """ is""““""
unaswerable by the moving party. Curious at best.

At this jjuncture it is quiteaclear that the pleading process
is becoming unwiedly and needs to be brought back into the normal
realm of American Jurisprudence, though the Government would
take issue with a historical perspective is of no import. AS
noted above, the Court has stated that it supports a full and
complete briefing process in order to reach the merits. Petitioner
feels that the trunciated manner championed by the Government
would be expidient, but that does not make it equitable. Which

incidentially, is_what this proceeding is to be goverened by

and this Court has a wide latitude to see justice done.
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Wherewithal, the Rules-2255 mandate that a reply be permitted
and the Court shoudl have set a time for same.

Moreover, the fact is that now the Government is entering
materials with the Court to rebut this Reconsideration that should
have been entered before; and as such have enjoined additional
authority in the Rules-2255 for a Reply by the Petitioner. lt
is beyond peradventure the the Appeals Court will want a full
briefing from both parties as to the relevancy of those materials
as well bhe\other arguments that are not fully "fleshed-out.'l

Petitioner deems that the Local Rules seem to reference
Eleven (ll) days to file reply briefs, so that would be November
21, 2018- from the filing of the Government's Response . As
intervening legallholidays and weekends are excluded in time
calculations for time periods less than dr equal to twelve (12)
daysu -

Finally. the Government argues that Petitioner has now exhausted
his arguments for rebuttal of the Response,butthat is not the
case. Petitioner has much more to set out in the leave to file
a Reply Brief in the 2255, as he was by 2255 rules specifically
granted to do -- and was only prudentially awaiting the Court's
Order for setting the time. §ggi Rules-2255; Rule 5(d), §§p£g
id;

The interests of justice call forrthis Court to exercise
its discretion and vacate its order and permit a Reply by Petittoner

in his 2255 and to Reply to the Government's Response herein.

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WHEREFORE PETITIONER PRAYS THAT UHIS HONORABLE COURT WILL

Grant his Request for Leave to file a Reply Brief in this Reconsideration

to answer the Government's newly presented evidence.
AND FURTHERMORE, Grant his Reconsideration in order to allow

him his Reply Brief in the 2255 proceedings so thatthe can fully

argue his claims therein, as the arguments are not yet completed.

AND FURTHERMORE, Order the Reply Brief to be filed within

thirty (30) days of the Order Granting this Reconsideration.
Respectfully Submitted.

DEGLARATION AND CERTIFICATE OF SERVICE

I, Karo Brown, hereby declare and affirm that the foregoingF
is true and correct th the best of my knowledge-and recollection,
prusuant to 28 U.S.C. § 1746(2), and that l served a true and
oorrect copy,.by first-class postage prepaid surrender to the
prison officials, this 14th day of November, 2018, on:

Michael F. Perry

AUSA for N.D.N.Y.

100 S. Clinton Street
Syracuse, NY 13261-7198

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Karo Brown, ro se

Reg. #58105-%€€ _'

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